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                                                     U. S. Department of Justice
                                                     Drug Enforcement Administration
                                                     EEO Staff, W3.114
                                                     8701 Morrissette Drive
                                                     Springfield, Virginia 22152-1080

  www.dea.gov                                        August 5, 2021




               ELECTRONIC MAIL - RETURN RECEIPT REQUESTED



Ms. Makya R. Little
c/o Donna Williams Rucker, Esquire
Tully Rinckey PLLC
Attorneys & Counselors At Law
2001 L Street, NW, Suite 902
Washington, DC 20036

                                                            RE: Complaint No: FBI 2021-00130

Dear Ms. Little:

     This is to acknowledge receipt of the complaint of discrimination you filed on August 4,
2021, against the Federal Bureau of Investigation (FBI). As you are aware, the Drug Enforcement
Administration (DEA) was designated on May 18, 2021, by the Director of the Equal
Employment Opportunity Staff, Justice Management Division, to process your complaint due to
an apparent conflict of interest. Your complaint was received by DEA, Equal Employment
Opportunity Staff, on May 18, 2021, and has been assigned complaint number FBI 2021-00130.
Please use this number on all correspondence regarding this complaint.

    You are being notified of relevant procedures that relate to your EEO complaint. Please
review this letter carefully, and notify this office if you have any questions. Additionally, please
preserve this letter as it contains important details about your legal rights.

    Review of your formal complaint

    Having received your complaint, we are now reviewing it to determine whether it meets the
legal requirements for further processing.

    Once reviewed, we will issue a letter (referred to as an “Acceptance Letter”) that specifies
which allegation will be accepted for investigation and which are being rejected. In the event that
we reject claims of yours, we will provide an explanation for our decision.
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     You have no immediate right to appeal a partial dismissal of your complaint. If any part of
 your claim is dismissed by our office and you request a hearing on the remainder of the complaint
 (as explained below), an Administrative Judge of the EEOC will review the agency’s rationale for
 its partial dismissal. If you do not request a hearing, you may not appeal the partial dismissal
 until the agency issues a final decision on the remainder of your complaint.

   Investigation into your accepted claims

    If any portion is accepted, an investigation into the accepted claims will be completed within
180 calendar days from the filing date of the formal complaint -- although you and the agency may
agree to an extension if circumstances warrant it.

    Federal regulations authorize our office to conduct investigations through the use of various
techniques. Our practice is to use contract investigators to interview and obtain sworn statements
from the complainant, responsible management officials, and other primary witnesses.

    As the complainant, your cooperation into the investigation of your claims is mandatory.
Federal regulations authorize sanctions against non-cooperative complainants. See 29 CFR
§1614.107(a). You are expected to provide any requested testimony and documents. Additionally,
when the investigator provides you a transcript of your testimony for your review, you are expected
to review it, make corrections, if necessary, and sign it once it accurately reflects your testimony.
If questions or problems arise, don’t hesitate to contact this office.

   Amendments and extensions of the investigation period

    If a new matter arises during the course of the investigation into your complaint, you should
contact this office about amending your complaint to include the new matter. If it is like and
related to your existing claims, you will not be required to go to through the counseling process
again.

    In cases where new incidents arise that fit within an already existing claim, such as is the case
where your accepted claim alleges an ongoing hostile work environment or an ongoing failure to
accommodate a medical condition, you will not need to file an amendment for the additional
incidents to be incorporated into the investigation.

     Accordingly, please promptly notify this office of any new incidents so that we can determine
if they are like and related to your pending complaint or evidence in support of your pending
complaint. You should bring such incidents to our attention no later than 45 calendar days of
when they occurred.

    When a complaint is amended, federal regulations extend the deadline to complete an
investigation to 180 days from the last amendment to the complaint, but no later than 360 days
from the original complaint.
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   If a matter is not like or related, you may be required to go through the counseling process. If
you are unsure, please don’t hesitate to notify our office of your questions. Additionally, please
make sure you bring to our attention any amendment or new issue within 45 calendar days of its
occurrence.

   Your Right to Representation

   You have the right to be represented throughout the complaint process, and at any stage in the
process. Please notify this office if you obtain counsel, or if your representation status changes.

   Submission of ROI

    Following completion of the investigation, the EEO Investigator will submit a Report of
Investigation (ROI), and you will be provided a copy for your review. Along with a copy of the
ROI will be an Election Letter, on which you will indicate whether you would like to request a
hearing before an Administrative Judge of the Equal Employment Opportunity Commission
(EEOC) or a final decision by the Complaints Adjudication Officer (CAO) of the Department of
Justice. If you are eligible to pursue your claim before an Administrative Judge of the EEOC, you
will be required to submit that election letter to EEOC and to us within 30 days.

   Most Claims are Appealable to EEOC; Mixed Claims, for instance, are Not

    Most claims are appealable to EEOC. However, claims that are appealable to the Merit
Systems Protection Board (MSPB) (such as terminations of non-probationary employment and
suspensions for more than 14 days) are classified as mixed-case complaints. You do not have the
right to request a hearing before an EEOC Administrative Judge on these claims. Instead, after
the investigation of a mixed claim, the Department of Justice Complaints Adjudication Officer
(CAO) will issue a final decision on this claim.

   In order to avoid any confusion for you, we will specify in our Acceptance Letter if you have
any claims that classify as mixed claims.

    The EEOC does not enforce protections that prohibit discrimination and harassment based on
parental status. Therefore, if you have a claim concerning parental status, it will not be addressed
by EEOC but will be forwarded to CAO. If you choose to request a hearing on your other claims,
CAO will hold the portion of your complaint regarding parental status in abeyance until the
conclusion of your administrative hearing with EEOC. Following a decision on the complaint by
an Administrative Judge, CAO will issue a decision which will address the basis in your claim
pertaining to parental status and order appropriate remedies and relief if discrimination is found.

   Process for Requesting a Hearing Before EEOC

   If you desire to pursue an EEOC hearing, you should send your request to:
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                            Mindy Weinstein, Director
                            Equal Employment Opportunity Commission
                            Washington Field Office
                            131 M Street, NE
                            Fourth Floor, Suite 4NWO2F
                            Washington, DC 20507-0100

   You must also provide a copy of your hearing request to: Karen E. Corado, Deputy Equal
 Employment Opportunity Officer, Office of Equal Employment Opportunity Affairs, Federal
 Bureau of Investigation, at KECorado@FBI.gov.

    You also must certify to the EEOC that you have done so. (If your claim is against an
 agency other than FBI but our office is processing the complaint, please send your hearing
 request to the federal agency against whom you are filing.)

    Following submission of your request for a hearing, EEOC will correspond with you about
the procedures that will apply to your case in their forum. Please note that EEOC is independent
of this office and this agency, and therefore any questions or concerns about their processing of
your complaint must be directed there.

    If you do not request a hearing with the EEOC, your case will automatically be submitted to
the Complaint Adjudication Office, Department of Justice, for a final decision without a hearing
based on the existing record.

    Additionally, once an EEOC Administrative Judge has issued a decision, the agency shall take
final action on the complaint by issuing an order notifying you, the complainant, whether or not
the agency will fully implement the decision of the administrative judge and shall contain notice of
your right to appeal to the Equal Employment Opportunity Commission, the right to file a civil
action in federal district court, the name of the proper defendant in any such lawsuit and the
applicable time limits for appeals and lawsuits. If the final order does not fully implement the
decision of the administrative judge, then the agency shall simultaneously file an appeal in
accordance with 29 C.F.R § 1614.403 and append a copy of the appeal to the final order.

    You have the right to appeal the final decision or dismissal of any claim

    You also have the right to file an appeal with the EEOC’s Office of Federal Operations on any
final order, final decision or dismissal (in its entirety) issued by the Department on your
complaint of discrimination. EEOC Form 573, “Notice of Appeal/Petition” will be provided to
you, and must be filed within 30 days of your receipt of the final order, final decision, or
dismissal.

     Because of the coronavirus health crisis, the EEOC’s Office of Federal Operations strongly
encourages complainants to file their appeals online at the EEOC’s Public Portal located at
publicportal.eeoc.gov/portal. You may also mail your appeal to the Equal Employment
Opportunity Commission, Office of Federal Operations, P.O. Box 77960, Washington, DC 20013
or by fax at (202) 663-7022.
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    With regard to a mixed case, however, if the complainant is dissatisfied with CAO’s final
decision on the mixed case complaint, the complainant may appeal the matter to the MSPB, not
the Commission, within 30 days of receipt of the agency's final decision. (If CAO does not issue
a final decision within 120 days of your complaint, you may appeal your mixed-case complaint to
MSPB at that point, or any time thereafter, although no later than within 30 days of receipt of a
final decision by CAO. You are also entitled to file a civil action, but not both a civil action and
an appeal to the MSPB.)

     You must provide the FBI with a copy of any appeal you submit to the Commission. Please
 send it to: Karen E. Corado, Deputy Equal Employment Opportunity Officer, Office of Equal
 Employment Opportunity Affairs, Federal Bureau of Investigation, at KECorado@FBI.gov.
 You must also certify to the Commission that you sent a copy of your appeal to the FBI EEO
 Office.

     You have the right to file a civil action

    Instead of an appeal, you have the right to file a civil action in Federal District Court on
 matters raised in the administrative process:

            (1) Within 90 days of receipt of an agency’s final action on an individual
                complaint, or final decision on a class complaint, if no appeal has been filed;

            (2) After 180 days from the date of filing an individual or class complaint if
                no appeal has been filed and no final action on an individual complaint or
                no final decision on a class complaint has been issued;

            (3) Within 90 days after receipt of the EEOC’s final decision on the appeal; or

            (4) After 180 days from the date of filing an appeal with the EEOC if there
                has been no final decision by the EEOC.

     When filing a lawsuit, you must name the person who is the official agency head or the
department head as the Defendant. In the case of claims against the Department of Justice or any
component, you must name Merrick B. Garland, Attorney General. Failure to provide the name or
official title of the agency head or department head may result in the dismissal of your case.

    Please note that during the processing of your complaint, you must notify this office of
 any change in your current mailing address, email address, and telephone number.
 Additionally, if you are being represented, you must provide us that representative’s
 contact information so we may include them on any communication concerning your
 matter.
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    Should you have any questions, please feel free to contact me at Darryl.w.himes@dea.gov.

                                       Sincerely,

                                       Darryl W. Himes
                                       Darryl W. Himes
                                       Complaints Program Manager

cc: Makya R. Little, Complainant
    Karen E. Corado, Deputy EEO Officer
    Ateia R. Green, Supervisory EEO Specialist
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                                         U. S. Department of Justice
                                     Drug Enforcement Administration
                                                  EEO Staff, 3W.114
                                                  8701 Morrissette Drive
                                                  Springfield, VA 22152-1080

www.dea.gov



                                                 August 16, 2021



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Ms. Makya R. Little
c/o Donna Williams Rucker, Esquire
Tully Rinckey PLLC
Attorneys & Counselors At Law
2001 L Street, NW, Suite 902
Washington, DC 20036

                                                           RE: Complaint No: FBI 2021-00130

Dear Ms. Little:

     Due to a conflict of interest regarding your EEO complaint of discrimination, the Director of
the Equal Employment Opportunity Staff of the Justice Management Division has designated the
Drug Enforcement Administration EEO Office to handle the processing of your EEO complaint
against the Federal Bureau of Investigation (FBI).

     On August 4, 2021, you filed a formal EEO complaint of discrimination against the FBI. After
careful review of your EEO formal complaint and our records from the EEO counseling report,
your EEO complaint has been accepted for investigation as explained below.

                          ACCEPTED ALLEGATION/S

     Whether you were discriminated against based on your race (unknown), sex (Female), and
reprisal (prior EEO activity) when:

       1. On April 19, 2021, you were notified that you were not selected for the position of
          Section Chief, Office of Diversity and Inclusion, Senior Executive Service (SES),
          advertised under Vacancy Announcement Number 20210249.
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       2. From November 2020 to April 2021, you were harassed (non-sexual) by FBI
          executives (who had no involvement in the selection process) when among other
          things: 1) the closing date for the vacancy announcement was extended to
          January 4, 2021 and was now open to external candidates to apply; 2) the Assistant
          Director did not recuse herself from the interview panel; 3) you received a text
          message from a Section Chief requesting to speak with you regarding your
          qualifications, grade level, application status, and interview performance; 4) you
          received unsolicited feedback regarding your promotion potential from the Executive
          Assistant Director who also told you “it is not going to happen.” You contend that
          both the Deputy Director and the Associate Deputy Director directed the Executive
          Assistant Director to tell you that you would not be selected for the position of
          Section Chief, Office of Diversity and Inclusion.

      If you disagree with the statement of the issues accepted for investigation, please notify this
office of any corrections within 5 calendar days from receipt of this correspondence. When
reviewing our statement of the issues, please keep in mind that our purpose is solely to identify the
legal claim of discrimination to be investigated. Our goal is not to identify or describe each of the
facts in support of those legal claims – such as those you provided in your attachment/s. You will
have an opportunity to more fully describe the relevant facts during the investigation of your case.
Additionally, the investigator will be provided a copy of these complaint narratives, along with
records from the EEO Counseling process.

    Pursuant to 29 C.F.R. § 1614.106(e)(2), the Drug Enforcement Administration (DEA) is
required to conduct an impartial and appropriate investigation of your complaint within 180 days of
the date that you filed it, unless you and DEA agree in writing to extend the time period. Due to
potential logistical complications brought on by COVID-19, we are asking that you agree to a 90
day extension of the period of time within which to complete the investigation. If you agree, the
deadline to complete the investigation into your allegation/s will change from January 31, 2022 to
May 1, 2022. Although all reasonable efforts will be taken to avoid relying on this extension, we are
asking for this now because none of us can foresee what complications may arise. If you agree,
please notify Darryl W. Himes, EEO Complaints Program Manager, at Darryl.W.Himes@dea.gov.
Thank you for considering this request.

   The accepted claim/s will be investigated by an EEO Investigator with the investigative firm
of JDG Associates, Inc. The EEO Investigator is trained and authorized to conduct EEO
investigations consistent with EEOC regulations. You are entitled to have an attorney or
representative present during your initial interview with the EEO Investigator. If you wish to have
an attorney or representative present, please advise the EEO Investigator at the time that you are
contacted to schedule the interview.

    Your rights and responsibilities following the completion of the investigation were explained
in the letter to you dated August 5, 2021.
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    Should you have any questions, please contact Darryl Himes, Complaints Program Manager,
at darryl.w.himes@dea.gov.




                                      Sincerely,


                                      Lorena McElwain
                                      Lorena O. McElwain
                                      EEO Officer

cc: Makya R. Little, Complainant
      Case 1:22-cv-01511-DLF Document 11 Filed 10/27/22 Page 48 of 61
                                          U. S. Department of Justice
                                      Drug Enforcement Administration




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                                                 August 19, 2021

                ELECTRONIC MAIL - RETURN RECEIPT REQUESTED




Ms. Andrea Garza
President
JDG Associates, Inc.
27 Scenic Loop Road
Boerne, TX 78006

                                               Re: EEO Complaint of Makya R. Little
                                                   Complaint No. FBI 2021-00130
Dear Ms. Garza:

   Pursuant to the authority vested in me by Departmental Order 1200.1 (July 6, 2000), Section
B.2 and B.5.f, you are hereby assigned to conduct an investigation of the above-referenced
complaint in accordance with the provisions of 29 C.F.R. § 1614.108. You are authorized to:

       (1) Investigate all aspects of this complaint;

       (2) Require all employees of the Agency to cooperate with you in the conduct of the
       investigation; and

       (3) Require all employees of the Agency having knowledge of the matter complained of
       to furnish testimony under oath or affirmation without a pledge of confidence.

       THIS COMPLAINT WAS FILED ON AUGUST 4, 2021. WE ARE REQUESTING
       THAT WE RECEIVE THE COMPLETED DRAFT REPORT OF
       INVESTIGATION, IN DRAFT FORM, NO LATER THAN NOVEMBER 15, 2021.

   You are requested to furnish an original and four (4) copies of the investigative report. When
you submit the draft Report of Investigation, you will be notified of the format in which the
copies should be submitted, hard copy or recordable compact disc (CD-R).
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                                               2

    Enclosed is the complaint file. The accepted claim(s) to be investigated is whether she was
discriminated against based on her race (unknown), sex (Female), and reprisal (prior EEO activity)
when:

       1. On April 19, 2021, she was notified that she was not selected for the position of
          Section Chief, Office of Diversity and Inclusion, Senior Executive Service (SES),
          advertised under Vacancy Announcement Number 20210249.

       2. From November 2020 to April 2021, she was harassed (non-sexual) by FBI executives
          (who had no involvement in the selection process) when among other things: 1) the closing
          date for the vacancy announcement was extended to January 4, 2021 and was now open to
          external candidates to apply; 2) the Assistant Director did not recuse herself from the
          interview panel; 3) she received a text message from a Section Chief requesting to speak
          with her regarding her qualifications, grade level, application status, and interview
          performance; 4) she received unsolicited feedback regarding her promotion potential
          from the Executive Assistant Director who also told her “it is not going to happen.” She
          contends that both the Deputy Director and the Associate Deputy Director directed the
          Executive Assistant Director to tell her that she would not be selected for the position of
         Section Chief, Office of Diversity and Inclusion.

    It should be noted that this case is a conflict-of-interest being processed by the US Drug
Enforcement Administration, EEO Staff. All billing invoices shall be directed to Karen E. Corado,
Deputy Equal Employment Opportunity Officer, Office of Equal Employment Opportunity Affairs,
Federal Bureau of Investigation.

    Should you have any questions, please contact Suzette B. Ward, EEO Specialist, of my
staff at Suzette.B.Ward@dea.gov, who is currently teleworking until further notice.

                                          Sincerely,


                                          Lorena McElwain
                                          Lorena O. McElwain
                                          EEO Officer

Enclosure

cc: Karen E. Corado, Deputy Equal Employment Opportunity Officer
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From:            Makya Renee
To:              Himes, Darryl W.
Cc:              Little, Makya R. (ITESD) (FBI); Donna Rucker; Barbara J. Gaither
Subject:         Re: Amended EEO Complaint | Continued Reprisal
Date:            Wednesday, September 22, 2021 2:57:39 PM
Attachments:     image001.png


        Good afternoon Mr. Himes,

        Thank you for the acknowledgement and please see the clarification below:

        1) You allege that you were offered an external job offer but it was later rescinded due to
        negative feedback that the employer had received from a CIA customer. What does CIA
        stand for (e.g., Central Intelligence Agency)? Please identify the employer who received
        negative information about you and who rescinded the job offer.

        I am alleging that I was offered an external job offer but it was later rescinded
        due to negative comments that the employer received from a CIA customer.
        CIA stands for Central Intelligence Agency. The employer is Bravo Consulting
        Group, LLC. They are a subcontractor for Booz Allen Hamilton, however,
        Bravo rescinded the job offer.

        2) You allege that Tonya Odom provided negative information to the CIA customer. Is that
        accurate?

      Yes, this is accurate.

        3) You allege that you received an inadequate response from an FBI FOIA request. Please
        explain why the response was inadequate and who was responsible for discriminating
        against regarding this matter.

        Three out of my 5 FOIA requests were marked as denied allegedly because the data wasn't
        already generated. However, the data necessary to provide/generate a response definitely
        exists. Also, one of the FOIA request responses was inadequate because they produced
        merged data when it was explicitly requested to be received in its native format, broken into
        two separate time periods (August 2017-May 2019 and June 2019-Present). The 5th request
        is still pending fulfillment.

        Regarding who discriminated by not providing this information, I believe that my denial
        came at the direction of Tonya Odom. I was advised that Human Resources Division
        maintains this data, however, the organization has claimed that all diversity-related data is
        "owned" by the Office of Diversity and Inclusion. The previous executive over that office
        was Tonya Odom.

        Furthermore, since I am experiencing ongoing effects of the FBI's retaliatory actions, I
        respectfully decline approval of the 90-day investigation extension you requested in your
        earlier correspondence.
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       + Makya Renée Little

On Thu, Sep 9, 2021 at 6:52 PM Himes, Darryl W. <Darryl.W.Himes@dea.gov> wrote:

 Dear Ms. Little:



 This is to acknowledge receipt of your request to amend your EEO complaint. In reviewing your
 new allegations, I am requesting clarification on the following matters:



 1) You allege that you were offered an external job offer but it was later rescinded due to
 negative feedback that the employer had received from a CIA customer. What does CIA stand for
 (e.g., Central Intelligence Agency)? Please identify the employer who received negative
 information about you and who rescinded the job offer.



 2) You allege that Tonya Odom provided negative information to the CIA customer. Is that
 accurate?



 3) You allege that you received an inadequate response from an FBI FOIA request. Please explain
 why the response was inadequate and who was responsible for discriminating against regarding
 this matter.




 From: Little, Makya R. (ITESD) (FBI) <MRLITTLE2@fbi.gov>
 Sent: Tuesday, August 31, 2021 2:41 PM
 To: Himes, Darryl W. <Darryl.W.Himes@dea.gov>
 Cc: Donna Rucker <drucker@fedattorney.com>; Barbara J. Gaither <bgaither@fedattorney.com>;
 Makya Renee <makyarenee@gmail.com>
 Subject: Amended EEO Complaint | Continued Reprisal



 Hello Mr. Himes,

 I hope you are well.
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I would like to request that my EEO complaint FBI 2021-00130 be amended to include the
claims in the original e-mail below. I have yet to hear from JDG Associates, Inc., but wanted
to ensure you had this additional information for your records.



Please advise if you need any additional information from me.



Thank you.



+ Makya




From: Green, Ateia Renee (OEEOA) (FBI) <ARGREEN@fbi.gov>
Sent: Tuesday, August 31, 2021 2:33 PM
To: Little, Makya R. (ITESD) (FBI) <MRLITTLE2@fbi.gov>; EEO_Counseling
<EEO_Counseling@FBI.GOV>
Subject: Re: EEO Complaint | Reprisal



You're welcome



Ateia R. Green

Supervisory Equal Employment Specialist

EEO Counseling Program

Director’s Office - Office of EEO Affairs

202-821-5225 (voice)

202-324-3976 (fax)

argreen@fbi.gov
        Case 1:22-cv-01511-DLF Document 11 Filed 10/27/22 Page 53 of 61


OEEOA UNet Site



ACE it every time! Accountability, Commitment, and Excellence in Services




From: Little, Makya R. (ITESD) (FBI) <MRLITTLE2@fbi.gov>
Sent: Tuesday, August 31, 2021 2:30 PM
To: Green, Ateia Renee (OEEOA) (FBI) <ARGREEN@fbi.gov>; EEO_Counseling
<EEO_Counseling@FBI.GOV>
Subject: Re: EEO Complaint | Reprisal



Thanks for that guidance, Ateia.



+ Makya


From: Green, Ateia Renee (OEEOA) (FBI) <ARGREEN@fbi.gov>
Sent: Tuesday, August 31, 2021 2:17:22 PM
To: Little, Makya R. (ITESD) (FBI) <MRLITTLE2@fbi.gov>; EEO_Counseling
<EEO_Counseling@FBI.GOV>
Subject: Re: EEO Complaint | Reprisal



Good afternoon Ms. Little,



Due to your matter being like and/or related to your ongoing formal matter, you must
contact your POC at the DEA and request to amend your complaint to add your new
allegation(s).



Best,



Ateia R. Green
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Supervisory Equal Employment Specialist

EEO Counseling Program

Director’s Office - Office of EEO Affairs

202-821-5225 (voice)

202-324-3976 (fax)

argreen@fbi.gov

OEEOA UNet Site



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From: Little, Makya R. (ITESD) (FBI) <MRLITTLE2@fbi.gov>
Sent: Tuesday, August 31, 2021 2:06 PM
To: EEO_Counseling <EEO_Counseling@FBI.GOV>
Subject: EEO Complaint | Reprisal



Good afternoon,

I believe I have been subjected to employment discrimination and want to initiate the
informal counseling process.




On August 18, 2021, I was advised that an external job offer I received had been rescinded
due to negative feedback from a CIA customer. I believe this customer was provided false,
negative employer feedback about me from AD A. Tonya Odom in retaliation for prior
engagement in protected EEO activity.



Furthermore, on August 26, 2021, I was provided an inadequate response to an FBI FOIA
request (1496275-000). I also believe this is in retaliation for previous engagement in
protected EEO activity.
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+ Makya
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                                          U. S. Department of Justice
                                      Drug Enforcement Administration
                                                   EEO Staff, 3W.114
                                                   8701 Morrissette Drive
                                                   Springfield, VA 22152-1080

www.dea.gov



                                              October 14, 2021


               ELECTRONIC MAIL-RETURN RECEIPT REQUESTED



Ms. Makya R. Little
c/o Donna Williams Rucker, Esquire
Tully Rinckey PLLC
Attorneys & Counselors At Law
2001 L Street, NW, Suite 902
Washington, DC 20036

                                                      Re: Complaint No. FBI 2021-00130

Dear Ms. Little:

     This is in reference to your electronic mail (e-mail) dated August 31, 2021, wherein you
requested to amend your complaint of discrimination filed against the Federal Bureau of
Investigation (FBI) on August 4, 2021. As you are aware, the Drug Enforcement Administration
(DEA) was designated by the Director of the Equal Employment Opportunity Staff of the Justice
Management Division, Department of Justice, to process your complaint due to a conflict of interest
matter.

      On August 16, 2021, your original complaint was accepted for investigation based on
whether you were discriminated against because of your race (unknown), sex (Female), and
reprisal (prior EEO activity) when:

       1. On April 19, 2021, you were notified that you were not selected for the position of
          Section Chief, Office of Diversity and Inclusion, Senior Executive Service (SES),
          advertised under Vacancy Announcement Number 20210249.

       2. From November 2020 to April 2021, you were harassed (non-sexual) by FBI
          executives (who had no involvement in the selection process) when among other
          things: 1) the closing date for the vacancy announcement was extended to January 4, 2021
          and was now open to external candidates to apply; 2) the Assistant Director did not recuse
          herself from the interview panel; 3) you received a text message from a Section Chief
         requesting to speak with you regarding your qualifications, grade level, application status,
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          and interview performance; 4) you received unsolicited feedback regarding your promotion
          potential from the Executive Assistant Director who also told you “it is not going to happen.”
          You contend that both the Deputy Director and the Associate Deputy Director directed the
          Executive Assistant Director to tell you that you would not be selected for the position of
          Section Chief, Office of Diversity and Inclusion.

     On September 9, 2021, the DEA EEO Office contacted you (via email) requesting clarification on
the matters raised in your amended complaint. By September 22, 2021, you clarified the claims and
alleged that you were discriminated against based on reprisal (prior EEO activity) when:

      1. On August 18, 2021, you were notified that a job offer from Bravo Consulting
         Group, LLC was rescinded due to them receiving negative feedback about you from
         their customer agency, the Central Intelligence Agency (CIA). You believe that it
         was the Assistant Director (A. Tonya Odom) of the FBI who provided false and
         negative information about you to the CIA.

      2. On August 26, 2021, you were provided an inadequate response to an FBI Freedom of
         Information (FOIA) request.

    The regulations that govern the EEO process provide that a complainant may amend a
complaint at any time prior to the conclusion of the investigation to include claims that are like or
related to those raised in the initial complaint. See 29 Code of Federal Regulations (C.F.R.)
§1614.106(d). The Equal Employment Opportunity Commission (EEOC) Management Directive
110 requires that the new incidents of alleged discrimination be reviewed to determine if they
provide additional evidence in support of the existing claim; raise a new claim that is like or
related to the pending matter; or raise a new claim that is unrelated to the pending complaint.

     Upon review of your amended complaint, I have determined that allegation number 1 is like
and related to your pending complaint and will be accepted for investigation. Because your
complaint is currently under investigation, your amendment will be provided to JDG Associates,
Inc. and included in your report of investigation. Please be advised that when a complaint is
amended, the time period in which an agency must complete its investigation is extended to the
earlier of 180 days after the filing of the last amendment or not later than 360 days from the filing
of the original complaint. In your case, we are required to complete the investigation by February
27, 2022.

      With regard to allegation number 2 in that the FBI provided an inadequate response to your
FOIA request, it is being dismissed for failure to state a claim. 29 C.F.R. §1614.107(a)(1). Under
EEO regulations, the EEO Office does not have jurisdiction over the processing of FOIA requests.
The U.S. Equal Employment Opportunity Commission (EEOC) has previously determined that it
does not have jurisdiction over the processing of FOIA requests as disputes. Instead persons having
a dispute regarding such requests should bring any appeals about the processing of their FOIA
requests under the appropriate FOIA regulations and through the agency’s guidelines. Gaines v.
Department of the Navy, EEOC Request No. 05970386 (June 13, 1997).
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      Our decision not to investigate allegation number 2 is reviewable by an EEOC Administrative
Judge if you request a hearing on the remainder of your complaint, but you have no right to appeal
this partial dismissal until a final agency action is taken on the remainder of your complaint. If the
Administrative Judge believes that all or some of the reasons for dismissing certain claims are not
sound, that dismissed claim may be reinstated. The Administrative Judge’s decision on the partial
dismissal will become part of the Administrative Judge’s final decision on your complaint, and may
be appealed by either party after final action is taken on the complaint.

    If you request a final agency decision by the Complaint Adjudication Officer (CAO) for the
Department of Justice without a hearing, the CAO will issue a decision addressing all claims in the
complaint, including the rationale for dismissing a claim, and its findings on its merits of the
remainder of the complaint as described in the Acknowledgement Letter to you dated August 5,
2021.

   Please note that during the processing of your complaint, you must notify this office of any
change in your current mailing address.

    Should you have any questions, please contact Darryl W. Himes, Complains Program Manager
at Darryl.w.himes@dea.gov.

                                             Sincerely,

                                             Lorena McElwain
                                             Lorena O. McElwain
                                             Equal Employment Opportunity Officer

cc: Donna Williams Rucker, Esquire
    JDG Associates, Inc.
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                                        U. S. Department of Justice
                                     Drug Enforcement Administration




www.dea.gov



                                            February 25, 2022


                   BY ELECTRONIC MAIL-RETURN RECEIPT REQUESTED

                      NOTICE OF COMPLETION OF INVESTIGATION


Ms. Makya R. Little
c/o Donna Williams Rucker, Esquire
Tully Rinckey PLLC
Attorneys & Counselors At Law
2001 L Street, NW, Suite 902
Washington, DC 20036

                                                       Re: Complaint No. FBI 2021-00130
Dear Ms. Little:

     This is to notify you that the EEO Investigator has completed the investigation of the
subject complaint, and to provide you with a copy of the Report of Investigation (ROI) in
accordance with Title 29, Code of Federal Regulations, Part 1614.108(f). These regulations
provide that you have the right to request a hearing before an Administrative Judge of the Equal
Employment Opportunity Commission (EEOC), or you may receive a final decision from the Complaint
Adjudication Officer (CAO) for the Department of Justice without a hearing, based on the record
established in the ROI. As you are aware, the Drug Enforcement Administration (DEA) was
designated by the Director of the EEO Staff, Justice Management Division, to process your
complaint due to an apparent conflict of interest.

       If you desire a hearing, you must request it within 30 days of your receipt of this notice
and Report of Investigation. The EEOC office and address of where your hearing request for your
remaining claim/s is to be sent to:

                          Mindy Weinstein, Director
                          Equal Employment Opportunity Commission
                          Washington Field Office
                          131 M Street, NE
                          Fourth Floor, Suite 4NWO2F
                          Washington, DC 20507-0100
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        A copy of your hearing request (forms attached) must be sent to:

                           Karen E. Corado
                           Deputy EEO Officer
                           Office of EEO Affairs
                           935 Pennsylvania Avenue, NW
                           Room 9304
                           Washington, DC 20535
                           KECorado@fbi.gov

        You must certify to the EEOC Administrative Judge that you sent a copy of your hearing
request to the FBI.

         If you request a hearing, within 180 days of your request, EEOC must issue a decision to
 the CAO, who must render a final order within 40 days, indicating whether it will or will not
 fully implement the EEOC Administrative Judge’s decision.

        If you request an agency final decision without a hearing, or if you fail to respond within
 30 days, the Report of Investigation will be sent to the CAO, who must render a final decision
 within 60 days of the date of your request, or within 60 days of the end of the 30-day period for
 requesting a hearing.

        If you are dissatisfied with the final decision of the CAO (without an EEOC hearing),
 you may appeal to the Director, Office of Federal Operations (OFO), Equal Employment
 Opportunity Commission, within 30 days of your receipt of the CAO’s final decision. You will
 be provided EEOC Form 573, “Notice of Appeal/Petition” on which to file your appeal, and you
 must furnish a copy of your appeal to the FBI’s EEO Office at the same time you file it with the
 OFO.

          Should you decide to appeal the CAO's final decision to the OFO, you still have the right
 to file a civil action in the appropriate U.S. District Court within 90 days of receipt of the OFO's
 decision on your appeal, or after 180 days from the date you filed your appeal with the OFO, if
 no OFO decision has been rendered by that time.

         You also have the right to file a civil action in an appropriate U.S. District Court within 90
 days of your receipt of the CAO's final decision if no appeal has been filed, or after 180 days from
 the date you initially filed your complaint, if no appeal has been filed, and a CAO final decision
 has not been issued. If you decide to file a civil action, you must name the Attorney General as the
 head of the Department of Justice. Filing a civil action will terminate the administrative
 processing of your complaint or appeal.

         The overall purpose of the administrative process is to effectively and efficiently resolve
 EEO complaints. Any time after the filing of your written complaint, but no later than the date the
 EEOC appoints an Administrative Judge to conduct a requested hearing, the FBI may make an
 offer of resolution to you if you are represented by an attorney. Any time after both you and the
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agency have been notified that an EEOC Administrative Judge has been appointed to conduct a
requested hearing, but not later than 30 days prior to the hearing, the agency may make you an
offer of resolution, regardless of whether you are represented by an attorney. The offer of
resolution will be in writing, will include a notice explaining the possible consequences of failing
to accept the offer; and the offer must include attorney’s fees and costs and specify any non-
monetary relief. You then have 30 days from receipt of the offer of resolution to accept it.

       Attached also is a form that provides for the withdrawal of your complaint based on the
information obtained during the investigation. Experience has demonstrated that sometimes
complainants decide, based on the evidence obtained by the investigation, to terminate the
complaint process by withdrawing the complaint.

       Should you have any questions, please contact me at Darryl.w.himes@dea.gov.

                                     Sincerely,

                                     Darryl W. Himes

                                     Darryl W. Himes
                                     Complaints Program Manager

Enclosures

cc: Makya R. Little, Complainant
    Karen E. Corado, Deputy EEO Officer
